  Case 15-02281-LT7        Filed 09/02/21   Entered 09/02/21 10:06:50   Doc 1328    Pg. 1 of 1



                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
                                            Minute Order
Hearing Information:
                                                                                                     0
                Debtor:   SULLIVAN INTERNATIONAL GROUP, INC.
         Case Number:     15-02281-LT7        Chapter: 7
   Date / Time / Room:    THURSDAY, SEPTEMBER 02, 2021 09:30 AM DEPARTMENT 3
    Bankruptcy Judge:     LAURA S. TAYLOR
     Courtroom Clerk:     RUSSELL PALUSO
      Reporter / ECR:     JENNIFER GIBSON
Matters:
      1) FIFTH AND FINAL APPLICATION FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
         OF EXPENSES AS ACCOUNTANTS AND CONSULTANTS TO THE ESTATE FILED BY : BAKER TILLY
         US, LLP FKA SQUAR MILNER LLP, ACCOUNTANTS/CONSULTANTS TO CHRISTOPHER R .
         BARCLAY


      2) SIXTH AND FINAL APPLICATION FOR AN AWARDING COMPENSATION FOR SERVICES RENDERED
         AND EXPENSES INCURRED BY FINLAYSON TOFFER ROOSEVELT & LILLY LLP IN CONNECTION
         WITH ITS REPRESENTATION OF THE CHAPTER 7 TRUSTEE FILED BY: FINLAYSON TOFFER
         ROOSEVELT & LILLY LLP , COUNSEL FOR CHRISTOPHER R. BARCLAY, CHAPTER 7 TRUSTEE



Appearances:
       NO APPEARANCES

Disposition:                                                                             0

       1-2) Granted pursuant to the Court's Tentative Rulings . Orders to be submitted by Movant.




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